                       Case 3:11-cv-00092-WHA Document 109 Filed 06/24/14 Page 1 of 3

 ATIORNEY OR PARTY WITHOUT ATIORNEY (Name and Address):                                         TELEPHONE NO.                                      FOR RECORDER'S USE ONLY
      0   RECORDING REQUEST BY AND RETURN TO:                                                    (650) 638-2370
      CHRISTOPHER C. COOKE, SBN 142342
      COOKE KOBRICK & WU LLP
      177 Bovet Road, Suite 600
      San Mateo, CA 94402
      ~ ATIORNEY FOR             ~JUDGMENT CREDITOR                  0   ASSIGNEE OF RECORD

                                        UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF CALIFORNIA
 sTREET ADDREss.- 450 Golden Gate Ave.
                  San Francisco, CA 94102
 c1rv AND z1P coDE:

 BRANCH NAME.-    San Francisco Division
 PLAINTIFF:    JAMES R. JOHNSON, et al.
 DEFENDANT      STEVEN L. MYERS, et al.

 WRIT OF              ~ EXECUTION (Money Judgment)                                                                                  CASE NUMBER:

                      0   POSSESSION OF                      0 Personal Property                                                    3:11-CV-0092 WHA

                                                             D Real Property                                                                         FOR COURT USE ONLY

                      OsAL.E
 1. To the Sheriff or any Marshal or Constable of the County of:

    You are directed to enforce the judgment described below with daily interest and your costs as
 provided by law.

   2.   To any registered process server: You are authorized to serve this writ only in accord with CCP
699.080 or CCP 715.040.
3. (Name): STEVEN L. MYERS AND MYERS ENGINEERING INTERNATIONAL,
 INC.
     is the     ~ judgment creditor                      0
                                                       assignee of record
     whose address is shown on this form above the court's name.

4. Judgment debtor (name and last known address):                         9.   0        See reverse for information on real or personal property to be delivered under a writ
JAMES R. JOHNSON                                                                        of possession or sold under a writ of sale.
865 Laurel Street
San Carlos, CA 94070
                                                                         10.   0        This writ is issued on a sister-state judgment.

                                                                         11. Total judgment.. ........................................... $                               122,598.91
                                                                         12. Costs after judgment (per filed order or
                                                                               memo CCP 685.090 ................................... $
Terrence and Heather Sims                                                13. Subtotal (add 11 and 12) ............................. $                                     122,598.91
4157 Boo Lane,                                                           14. Credits ......................................................... $                                0.00
Stockton, CA 95206,                                                                                                                                                       122,598.91
                                                                         15. Subtotal (subtract 14 from 13) ..................... $
                                                                         16. Interest after judgment (per filed affidavit
                                                                               CCP 685.050) ............................................. $                                         0.00
' - - - - - - - - - - - - - - - - - - - - - , . - W : \ A , r . Fee for issuance of writ ............................... $
                ~additional judgment debtors on~e~e          18. Iftal (add 15, 16, and 17) ........................... $                                                 122,598.91
5. Judgment entered on (date): June   16, 2014 '.7 ,.. J. S' 1J''l!evying officer: Add daily interest from date
6.   0Judgment renewed on (dates):
                                                                                                                                                                                    0.00
                                                                               of writ (at the legal rate on 15) of .................. $

 7. Notice of sale under this writ
     a.    ~ has not been requested.                                     20.   D        The amounts called for in items 11-19 are different for each debtor.
     b.   0   has been requested (see reverse).
8.        0   Joint debtor information on reverse.
                                                                                         TRiCHARIJW"W,EKiNG""Zt'~
                                                                                                 '             r'
                                                        ? ;21// ;f                                                                                                    ftU7:FJ
 (SEAL)                                Issued on
                                       (date):
                                                              ....                                                Clerk, by



                                           -NOTICE TO PERSON SERVED: SEE REVERSE FOR IMPORTANT INFORMATION- V

                                                     (Continued on reverse)                                                                WRIT OF EXECUTION
                                                                                                                                        CCP 699.520, 712.010, 715.010
                                                                                                                                              EJ-130REV1189
                                                                                                                                                                  IAmerican LegaiNet, Inc.
                                                                                                                                                                   www.FormsWorkflow.com
                         Case 3:11-cv-00092-WHA Document 109 Filed 06/24/14 Page 2 of 3

SHORT TITLE:                                                                                          CASE NUMBER
JAMES R. JOHNSON, et al. v. STEVEN L. MYERS, et al.                                                   11-CV-0092 WHA



CONTINUED FROM FRONT:
   IZI
     Additional judgment debtor (name and last known address):


Willie and Joslyn Benning
3 Mimbres Court                                                                           Additional Judgment Debtors appear on Attachment 4
Placitas, NM 87403


   0     Notice of sale has been requested by (name and address):




   0     Joint debtor was declared bound by the judgment (CCP 989-994)
                                                                                                 a. on (date):
           a. on (date):
                                                                                                 b. name and address of joint debtor
           b. name and address of joint debtor




         c.        0   additional costs against certain joint debtor: (itemize):




       0      Judgment was entered for the following:
              a.   0    Possession of personal property
                             0   If delivery cannot be had, then for the value (itemize in 9e) specified in the judgment or supplemental order.
              b.   0    Possession of real property
              c.   0    Sale of personal property
              d.   0    Sale of real property
              e. Description of property


                                                                     - NOTICE TO PERSON SERVED

Writ of execution or sale. Your rights and duties are indicated on the accompanying Notice of Levy.

Writ of possession of personal property. If the levying officer is not able to take custody of the property, the levying officer will make a demand
upon you for the property. If custody is not obtained following demand, the judgment may be enforced as a money judgment for the value of the
property specified in the judgment or in a supplemental order.

Writ of possession of real property. If the premises are not vacated within five days after the date of service on an occupant or, if service is by
posting, within five days after service on you, the levying officer will place the judgment creditor in possession of the property. Personal property
remaining on the premises will be sold or otherwise disposed of in accordance with CCP 1174 unless you or the owner of the property pays the
judgment creditor the reasonable cost of storage and takes possession of the personal property not later than 15 days after the time the judgment
creditor takes possession of the premises.


J-130 (REV. Jan. 1, 1989)                                                   WRIT OF EXECUTION                                                                Page two




                                                                                                                                                  American LegaiNet, Inc.
                                                                                                                                                  www.FormsWorkflow.com
 Case 3:11-cv-00092-WHA Document 109 Filed 06/24/14 Page 3 of 3




Case: James R. Johnson, et al., v. Steven L. Myers, et al., 11-CV-0092 WHA

Item 4: Additional Judgment Debtors

Richard Gaddes                              Robert and Deb Hartenstein
127 Connecticut Ave.                        69 Allen Street
Freeport, NY 11520                          Rutland, VT 05701-4564

Lance and Joan Goddard                      Michael Bilich
14165 Talking Points Rd.                    223 15th Street
Grass Valley, CA 95945-9628                 Pacific Grove, CA 93950

Michael and Marian Moffett                  Dr. William and Valerie Schneider
3319 Homestead Court                        1506 Serafix Rd.
Napa, CA 94558                              Alamo, CA 94507

Hans P. Schroeder                           James P. Ross
1055 Esplanade, Suite 1                     23 Paraiso Court
Chico, CA 95926                             Danville, CA 94526

Stephen Schneider                           Todd Severin
704 ~ Heliotrope                            50 Leeds Court East
Corona Del Mar, CA 92625-2246               Danville, CA 94526
